Case_1:24-cv-11334-FDS__ Document 1-3. Filed 05/20/24 Page 1of 13

Exhibit C
Case_1:24-cv-11334-FDS = Document.1-3

5/20/24, 2:17 PM

Filed 05/20/24

Case Detalis - Massachusetts Trial Court N6

Page 2 of 13

_2484CV01106 Ojugbana, Bob S vs. Virgin Atlanctic Airline et al

Case Type:
Torts

Case Status:
«| Open

«| File Date
«| 04/26/2024

e| DCM Track:
»| F - Fast Track

e| Initiating Action:
+| Other Negligence - Personal Injury / Property Damage

+| Status Date:
e| 04/25/2024

+| Case Judge:

«| Next Event:

Phone Number

Allinformation Party Tickler Docket Olsposition }

Party Information

Ojugbana, Bob S

- Plaintiff

Alias Party Attorney
- Attorney
+ ProSe
+ Bar Code
« PROPER
« Address

Virgin Atlanctic Airline
- Defendant re
Allas Party Attorney

Bramson, Richard Charles Nicholas

- Defendant
Alias Party Attorney

Shai Weiss (CEQ)
- Defendant

Alias

Party Attorney

More Party Information |
More Party Information

More Party Information ff

Ticklers

Tickler Start Date Due Date Days Due Completed Date
Service 04/25/2024 07/24/2024 90
Answer 04/25/2024 08/23/2024 120
Rule 42/19/20 Served By 04/25/2024 08/23/2024 120
Rule 12/19/20 Filed By 04/25/2024 09/23/2024 151
Rule 12/19/20 Heard By 04/25/2024 10/22/2024 180
Rule 18 Served By 04/25/2024 08/23/2024 120
Rule 15 Filed By 04/25/2024 09/23/2024 151
Rule 15 Heard By 04/25/2024 10/22/2024 180
Discovery 04/25/2024 02/19/2025 300
Rule 56 Served By 04/25/2024 03/21/2025 330

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Case 1:24-cv-11334-FDS — Document 1-3 _ Filed 05/20/24 Page 3 of 13

5/20/24, 2:17 PM Case Details - Massachusetts Trial Court N6
Sa at ae ee ——- fae a Se
Rule 56 Filed By 04/25/2024 04/21/2025 361
Final Pre-Trial Conference 04/25/2024 08/18/2025 480
Judgment 04/25/2024 04/27/2026 732

4

f Docket Information

Docket Docket Text File Ref image Avail.
Date Nbr,

04/25/2024 Attorney appearance
On this date Pro Se added for Plaintiff Bob S Ojugbana

04/25/2024 Case assigned to:
BCM Track F - Fast Track was added on 04/25/2024

04/25/2024 = Original civil complaint filed. i @

04/25/2024 Civil action cover sheet filed. 2 So

04/25/2024 Docket Note: Three summonses in hand image

05/15/2024 Amended: First amended complaint filed by Bob S Ojugbana 3 @

05/15/2024 Service Returned for 4 oS
Defendant Virgin Atlanctic Airline: Service through person in charge / agent '

image

05/15/2024 Service Returned for 5 @

Defendant Bramson, Richard Charles Nicholas: Service through person in charge /

Case Disposition
Disposition Date Case Judge
Pending

hitps:/www.masscourts.org/eservices/searchresults.page?x=ng6LM 1 MBKuPI39 Ty823HeocN4 1HOfVbWilySaxYnoP3sKUWPUxse0Sg/x7oZYYB... 2/2
Case 1:24-cv-11334-FDS —_Document1-3 _Filed_05/20/24 Page 4 of 13

COMMONWEALTH OF MASSACHUSETTS
oN SUPERIOR COURT

“a> SUFFOLK, ss.
CIVIL ACTION
Dope S- OTUGBANA
PLAINTIFF(S) (PRINT NAME CLEARLY)
VIRGIN ALTAN TIC AIRLING COMPLAINT
a HARS CHARLES HicHoL hs BRAM or 5 ss of
3S Hl -WiEls (66-0) zs = <3
DEFENDANT(S) (PRINT NAME CLEARLY) oF 23.
#3 9 28
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me U os
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&

1. Plaintififs) reside(s) at 227 (EL ONGET VAL ley Phkic- WAR BOS ry) O2IZE
City or Town

Wat WED STATES:

in the Countyof_ {fC A:
0. Defendant(s) reside(s) a GH VitQ FLEMIG WE Y CRAWLEY LH yo 91

in the County of Url tT Ea Kile pace , acim
FACTS
3. {wat na Vergen ttenbie plight VS AL/2 fel, [2, 20H
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Case 1:24-cv-11334-FDS | Document 1-3 Filed 05/20/24 Page 5 of 13

& orved / notify te. Cré? Lupes vison She law? te. Evidence.
bbe feel Coatammafion Gon) fhe. mada topett cud’ t
told. we We wet ot gor 0 Sead +f pr he goereprieke departs
o fue deta goloy back an) Pitt with the lili awd bey hel toe

PPE Me gust becaute gp wt Chir Coloc up to dale. 20

Yologer from flenndegpi te te Macht pr rs andl Siygering.
4. Answer this question only if you are sceking a restraining order against the dcefendani(s):

Have there been any other Court proceedings, ciminal or civil, invalvi
olvin
famity members and the defendant or defendant's family members? Sym er yor

Yes No ~

If' Yes, describe the Court proceeding(s) and its/their status.

i

WHEREFORE, plaintiff demands that:
WUCE Aad Ceng eusel/Or, Co tat

Sct py pee fo Ofer fe eagOrr,

Specially frm Los — LHR. from Vhiin

tllan te Ard Delle filmed» Thanks ~
SIGNED UNDER THE PENALTIES OF PERJURY.

DATE: 6 ~ 25-2024

of Plaintiff(s

289 WEPUSET Vatrey ky
Address

Ealree/ fi lt 02) 96
CIE ELE-E4IG- |

Telephone

Case 1:24-cv-11334-FDS | Document 1-3 Filed 05/20/24 Page 6 of 13

CIVIL ACTION COVER SHEET The Superior Court ~ SS

x \2 4/1 06 & lcounty|
Piaintet BOP, S. Sug hAnbh DoensentD Viehlnt A LTAHTIC Hialute © SAR WE,
aponess: 29 NEKONSET VALLEY Ki CHA, Me a

7 PRE VLA |

BOSTeA “MA O2L36 -
Plaintiff Attomey: Defendant Attomey:
ABDRESS: 1 ADDRESS:
sth
Bao. BBO:
TYPE OF ACTION AND TRACK DESIGNATION (see instructions section on next page)
CODE NO. ‘ TYPE OF ACTION (specify) TRACK HAS A JURY CLAIM BEEN MADE?
O04: CAC Daraey- OClyes fiy{no

"If “Other” please describe: gy

Is there a claim under G.L c. 93A? Is thare a class action under Mass. R. Civ. P. 237
{ives [J] No Lives [Jno
STATEMENT OF DAMAGES REQUIRED BY G.L. ¢, 212, § 3A
The following is a full, itemized and detailed statement of the facts on which the undersigned plaintiff or plaintiffs counsel relies to determine money damages.

{Note to plaintiff: for this form, do not state double or treble damages; indicate single damages only.)

TORT CLAIMS,
A. Documented medical expenses to date

1. Total hospital expenses

2. Total doctor expenses

3. Total chiropractic expenses

4, Total physical therapy expenses
5. Total other expenses (describe below)

|

Subtotal (1-5): $0.00
8. Documented fost wages and compensation to date
¢. Documented property damages to date
D. Reasonably anticipated future medical and hospital expenses
E. Reasonably anticipated lost wages
F. Other documented items of damages (¢cescribe below}
| TOTAL (A-F): | $0.00

G. Briefly describe plaintiffs injury, inctuding the nature and extent of the injury:

LPL D_ 2h final hel, HAXIEtY, Pant FS Up Orig

CT CLAIM

TC This action Includes a claim Involving collection of a debt rewred pursuant to a revolving credit agreement. Mass. R. Civ. P. 8.1(a).
item # Datalled Desciption of Each Claim ' : Amount
1.
Total
Signature of Attomey!/Self-Represented Plaintiff: X aes | Date: OAL—-2G- 202 4.

RELATED ACTIONS: Please provide the case number, ces rfame, and county of any related actions pending in the Superior Court,

CERTIFICATION UNDER S.J.C. RULE #:18(5)

ihereby certify that | have compliad with requirements of Rule 5 of Supreme Judicial Court Rule 1:18: Uniform Rules on Dispute Resolution, requiring that | inform my cllents about
couwrt-con nected dispute resolution services and os ‘with them the advantages and disadvantages of the various methods of dispute resolution.

Signature of Attomey: X | _{Date:

SC0001; 1/13/2023 Www. mass. govicourts Date/Time Printed:01-17-2023 13:56:18
Case 1:24-cv-11334-FDS — Document 1-3 Filed 05/20/24 Page 7 of 13

‘ EAL TH OF MASSACHUSETTS
SUFFOLK, ss. oe SUPERIOR COURT

CIVIL ACTION -

no. 2 - _/ }1O0GE

Zop, S - OJUGBAHPL -
PLAINTIFF(S) (PRINT NAME CLEARLY)

NS. AWeNDED comensmr

AMT, ALINE, Rica) Che LAS ber
 EFENDANTES (PRINT NAME CLEARLY) LES NICHOLAS bb

Bs aitew pif 0.
1. Plaitififs) reside(s) at - Conte

in the Comtyof__{/ S° AV. WATTED St STATES: <=

2. Defendant(s) reside(s) at 155 FEPERHE St sus Te: F822 i

O T. Ae
inthe Comtyof__—-« BOL FOAL Lad Onl i LT

FACTS

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an cech yell p>» Lord on, [barbed hating lero hawrheed, whe
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Case 1:24-cv-11334-FDS | Document 1-3 Filed 05/20/24 Page 8of13
Case 1:24-cv-11334-FDS — Document.1-3 Filed 05/20/24 Page 9 of 13

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4. Answer this question only if you are seeking a restraining order against the defendant(s):

Have there been any other Court proceedings, criminal or civil, involving you or your
family members and the defendant or defendant’s family membeis?

Yes No a

lf Yes, describe the Court proceeding(s) and its/their status.

_— WHEREFORE, plaintiff demands that-
Lee fire. Ana M Compentd fron, £0 teu back

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SIGNED UNDER THE PENALTIES OF PERJURY.

DATE: OS, N15) o2y Leilene

of Plaintifi(s)
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PARE LAY, LosTe Wh Mi OD):
OT et BEG.

Telephone

Case 1:24-cv-11334-FDS — Document 1-3 Filed 05/20/24 | Page 10 of 13

summons Ee Trial Court of Massachusetts
i 2-H Ob F The Superior Court

CASE NAME: John E. Powers Ill Clerk of Courts
| BOB SL: OSUGb AWA Suffolk County
COURT NAME & ADDRESS:
Plaintifi{s) Suffolk Superior Civil Court

vs. Three Pemberton Square

Boston, MA. 02108

Defendant(s}

THIS SUMMONS IS DIRECTED TO WRG/rd AILAMCTIC AIRLINE (Defendag®s name)

et

‘You are being sued. The Plaintiff(s} named above has started a lawsuit against you. A copy of the Plaintiffs Complaint filec
against you is attached to this Summons and the original Complaint has been filed in the

YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS, <

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T ; Cour

1. You must respond to this lawsuit in writing within 20 days.

If you do not respond, the Court may decide the case against you and award the Plaintiff everything asked for in the Complai
You will also lose the opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect t

resolve this matter with the Plaintiff. If you need more time to respond, you may request an extension of time in writing
from the Court.

2, How to Respond.

To respond to this lawsult, you must file a written response with the Court and mail a copy to the Plaintiff's attorney (or the
yao if unrepresented). You can do this by:

a} Filing your signed original response with the Clerk's Office for Civil Business, Court

(address), by mail, in person, or electronically through
the web porial www.eFileMA.com if the Cornplaint was e-filed through that portal, AND

| b} Delivering or mailing a copy of your response to the Plaintiff's attorney/Plaintiff at the following address:

3. What to inctude in Your Response.

iAn “Answer" is one type of response to a Complaint. Your Answer must state whether you agree or disagree with the fact(s)
alleged in each paragraph of the Compiaint. Some defenses, called affirmative defenses, must be stated in your Answer or
you may lose your right to use them in Court. If you have any claims against the Plaintiff (referred to as "counterclaims") that
‘ate based on the same facts or transaction described in the Complaint, then you must include those claims in your Answer.
Otherwise, you may lose your right to sue the Plaintiff about anything related to this lawsuit. If you want to have your case
‘heard by a jury, you must specifically request a jury trial in your Court no more than 10 days after sending your Answer.

Case 1:24-cv-11334-FDS Document 1-3 _ Filed 05/20/24 Page 11 of 13

3. (cont.) Another way to respond to a Complaint is by filing a "Motion to Dismiss," if you believe that the Complaint is
legally invalid or legally insufficient. A Motion to Dismiss must be based on one of the legal defictencies or reasons listed
under Rule 12 of the Massachusetts Rules of Civil Procedure. if you are filing a Motion to Dismiss, you must follow

the filing rules for “Civil Motions in Superior Court," available at:
www.mass.goviaw-library/massachusetts-superior-court-rulas

4, Legal Assistance.
You may wish to get legal help from a lawyer. If you cannot get legal help, some basic information for people who represent

themselves is available at www.mass.gov/courts/selfhelp.

5. Required Information on Ali Filings.
The "Civil Docket No." appearing at the top of this notice is the case number assigned to this case and must appear on the

front of your Answer or Motion to Dismiss. You should refer to yourself as the “Defendant.”

Witness Hon. Michael D. Riccluti , Chief Justice on 20 . (Seal)

Acting Clerk The fy

Note: The docket number assigned to the original Complaint by the Clerk should be stated on this Summons before it is
served on the Defendant(s).

PROOF OF SERVICE OF PROCESS

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Suffoik County Sheriff's Department « 132 Portland Street, Boston, MA 02114 + (617) 704-6999
Suffolk, ss.

April 29, 2024

I hereby certify and return that on 4/29/2024 at 9:15 AM I served a true and attested copy of the
Summons, Complaint, Cover Sheet and Tracking Order in this action in the following manner: To eee wet oe
wit, by delivering in hand to Darlena Mitchell, agent and person in charge at the time-of service for ~ -
Virgin Atiantic Airline, at-155-Federal-Street Suite 700 CT Corporation System Boston, MA 02110.
~Attest/Copies ($5.00) Basic Service Fee (IH) ($30.00) Postage and Handling ($1.00) Total: $36.00

Ia & Coney

Deputy Sheriff Joseph Cascy

“A Deputy Sheriff

Date:

rev. 1/2023
Case 1:24-cv-11334-FDS ~ Document 1-3. Filed 05/20/24 -- Page 12 of 13

é GIVIL DOCKET NO. Trial Court of Massachusetts
| Summons The Superior Court
| =
L4-/1 OG F =
CARE NAME: John E. Powers III Gir of Courts
bok £. O5ua BARR Suffolk County
: COURT NAME & ADDRESS:
| estan] Suffolk Superior Civil Court

VS: Three Pemberton Square

Boston, MA. 02108

Defandant(s)

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THIS SUMMONS IS DIRECTED TOO 4k AL ACT —Anetinte "(Detendaiifs name)
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1 Gd

QDRICHARN CHARLES MetoLet bfargons
B35 -s
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from the Court.

I

2. How to Respond.
To respond to this lawsuit, you must file a written response with the Court and mail a copy to the Plaintiff's attorney (or the
Plaintiff, if unrepresented). You can do this by:

a} Filing your signed original response with the Clerk's Office for Civil Business, Court

(address), by mail, in person, or electronically through
the web portal www.eFileMA.com if the Cornplaint was ¢-filed through that portal, AND

b) Delivering or mailing a copy of your response to the Plaintiff's attorney/Plaintiff at the following address:

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‘Otherwise, you may lose your right to sue the Plaintiff about anything related to this lawsuit. If you want to have your case
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Case 1:24-cv-11334-FDS — Document 1-3——-Filed-05/20/24--Page 13 of 13

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www,mass.gov/law-library/imassachusetts-superior-court-rules

4, Legal Assistance.
You may wish to get legal help from a lawyer. If you cannot get legal help, some basic information for people who represent
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5. Required information on All Filings.
The “Civit Docket No." appearing at the top of this nolice is thé Case number assigned to this case and must appear on the

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Witness Hon. Michael D. Ricciuti ——_, Chief Justice on 20 . (Seal)

Acting Clerk Thee fe

Note: The docket number assigned to the original Complaint by the Clerk should be stated on this Summons before it is
served on the Defendant(s).

PROOF OF SERVICE OF PROCESS

= Suffolk County Sherifl’s Department + 132 Portland Street, Boston, MA 02114 + (617) 704-6999
mw, Suffolk, ss.
April 29, 2024

I hereby certify and return that on 4/29/2024 at 9:15 AM I served a true and attested copy of the a
Summons, ComplaintCover.Sheet_and Tracking-Order_in.this action in the following manner: To. . — _-
wit, by delivering in hand to Darlena Mitchel!, agent and person in charge at the time of service for

Richard Chartes Hicholes Branson, at 155 Federal Street C/O Virgin Atantic Airlines CT Corporation

System Boston, MA 02110. Attest/Coples ($5.00) Basic Service Fee (IH) ($30.00) Conveyance

($0.30) Postage and Handling ($1.00) Travel ($1.00) Total: $37.30

Deputy Sheriff  Josepli Casey

Deputy Sheriff

Date:

rev. 1/2023
